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 5    Amicus Curiae, Pro Se
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                                    UNITED STATES DISTRICT COURT
 9
                                           DISTRICT OF COLORADO
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      DAN ROBERT, et. al.,                                Case No.: 1:21-cv-02228-RM-STV
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                      Plaintiffs,                         MOTION FOR LEAVE TO FILE
13
             vs.                                          AMICUS CURIAE
14
      LLOYD AUSTIN, et. al.,
15
                      Defendants.                         Hon. Judge Raymond P. Moore
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18    COMES NOW, Pritish Vora, Amicus Curiae, by way of Pro Se, files with the Honorable Court
19    his motion for leave to file an informational brief in the above referenced matter to provide
2O    factual references that warrant judicial notice, to supplement the efforts of counsel for the
21    Plaintiffs, and states as follows:
22            1. Amicus is an individual, concerned U.S. citizen from California and is familiar with
23    the docket entries in this case regarding the implementation of the "Covid-19 vaccine mandate."
24    Amicus has a PACER account and thus also is aware of other similar cases.
25            2. Amicus is a Pro Se, is not an attorney, does not hold any law degree, but is aware of
26    the Federal Rules of Civil Procedure. Amicus has filed cases as a Plaintiff in the Central District
27    of California in other matters. See, e.g., Vora v. LVNV Funding, LLC et al., No. 8:18-cv-01674-
28    JLS-JDE (C.D. Cal. 2018).


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     1           3. Notwithstanding "the absence of a specific provision" in the rules authorizing amicus
     2    briefs, "District Courts have long been permitted to allow amicus appearances at their
     3    discretion." See Vigil v. AT&T, 1969 WL 118, at *1 (D.Colo. Sept. 9, 1969).
     4           4. The classic role of the amicus curiae is to assist in a case of general public interest,
     5    supplement the efforts of counsel, and draw the Court's attention to law or facts that may
     6    otherwise escape consideration. See Miller-Wohl Co., Inc. v. Commissioner of Labor and Indus.,
     7    694 F.2d 203, 204 (9 th Cir. 1982). The implementation of a vaccine mandate is highly contested
     8    throughout the District Courts, and a matter of public interest. In fact, there are several cases
     9    pending that will have a strong likelihood to impact the outcome of mandates.
    10           5. As explained in the attached brief, the "COMINARTY" package insert states it is not
    11    "interchangeable" with any Covid-19 vaccine. The CDC tabulates Covid-19 deaths in their
    12    Weekly Tracker as "confirmed" or "presumed." (Emphasis added). There are TWO fact sheets,
    13    one for recipients, and one for vaccine providers. Only the fact sheet for vaccine providers lists
    14    DEATH as a severe adverse event. The one for recipients does not. (Emphasis added).
    15           6. Defendants recently filed voluminous declarations pursuant to their brief in opposition
    16    to the preliminary injunction (Doc 36), and motion to dismiss (Doc 37). Amicus sought
    17    concurrence with respective counsel from the parties regarding his motion for leave. Plaintiffs
    18    stated they were UNOPPOSED. Defendants stated they took no position on the motion.
    19           7. Indeed, amicus briefs may even become dispositive to the outcome of a final appeal.
    20    See Federal Trade Commission v. Penn State Hershey Medical Center, 838 F.3d 327 (3rd Cir.
    21    2016). The Court has not made a final determination on the merits of the amended complaint
    22    (Doc 29) or the preliminary injunction (Doc 30), and there is no prejudice to the parties to have
    23    this information presented before the Court fully decides the respective parties' positions.
    24            8. For the reasons set forth above, Amicus respectfully requests that the Court GRANT
    25    leave to file the Amicus Curiae brief, attached contemporaneously herewith.
    26    Respectfully submitted on this day of      'txr.    Z... /   ~-c I
    27                                                                 By: --~L.::....:..~...:_,,,«::::::::::~~---
    28                                                                        Pritish Vora, Amicus Curiae, Pro Se

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 1                                    CERTIFICATE OF SERVICE
 2           I, Pritish Vora, Amicus Curiae, hereby certify that I mailed the original of the motion for

 3    leave to file Amicus Curiae in the above referenced matter to the Clerk of the Court via USPS,
 4    and a copy was sent to each of the parties' respective counsel below via USPS first class mail,
 5    postage prepaid.
 6
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